Case 5:22-cr-04066-LTS-KEM Document 374 Filed 10/26/23 Page 1 of 7
Case 5:22-cr-04066-LTS-KEM Document 374 Filed 10/26/23 Page 2 of 7
Case 5:22-cr-04066-LTS-KEM Document 374 Filed 10/26/23 Page 3 of 7
Case 5:22-cr-04066-LTS-KEM Document 374 Filed 10/26/23 Page 4 of 7
Case 5:22-cr-04066-LTS-KEM Document 374 Filed 10/26/23 Page 5 of 7
Case 5:22-cr-04066-LTS-KEM Document 374 Filed 10/26/23 Page 6 of 7
Case 5:22-cr-04066-LTS-KEM Document 374 Filed 10/26/23 Page 7 of 7
